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                            12   ENTERTAINMENT LTD.
      L OS A NGELES




                            13   and
                            14   Attorneys for Nonparty
                                 GUEST-TEK INTERACTIVE
                            15   ENTERTAINMENT INC.
                            16   (additional counsel listed on following page)
                            17
                            18                        IN THE UNITED STATES DISTRICT COURT
                            19                            CENTRAL DISTRICT OF CALIFORNIA
                            20                                          WESTERN DIVISION
                            21
                                 NOMADIX, INC.,                                      Case No.: 2:19-cv-04980-AB(SKx)
                            22
                                                  Plaintiff,                         Honorable André Birotte Jr.
                            23
                                           v.                                        GUEST-TEK INTERACTIVE
                            24                                                       ENTERTAINMENT LTD.’S
                                 GUEST-TEK INTERACTIVE                               AND GUEST-TEK INTERACTIVE
                            25   ENTERTAINMENT LTD.,                                 ENTERTAINMENT INC.’S
                                                                                     EX PARTE APPLICATION TO
                            26                    Defendant.                         QUASH AND RECALL WRIT OF
                                                                                     EXECUTION SERVED ON
                            27                                                       NONPARTY
                            28

                                       GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                               CASE NO.: 2:19-CV-04980-AB(SKX)
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                                 Attorneys for Defendant
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                                 ENTERTAINMENT LTD.
                            14
                                 and
                            15
                                 Attorneys for Nonparty
                            16   GUEST-TEK INTERACTIVE
                                 ENTERTAINMENT INC.
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                                       GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                               CASE NO.: 2:19-CV-04980-AB(SKX)
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                             1         TO THE HONORABLE COURT, AND TO PLAINTIFF AND ITS
                             2   COUNSEL OF RECORD:
                             3         PLEASE TAKE NOTICE that Defendant Guest-Tek Interactive
                             4   Entertainment Ltd. (“LTD”) and nonparty Guest-Tek Interactive Entertainment Inc.
                             5   (“INC”) bring this ex parte application under L.R. 7-19 to quash and recall the writ
                             6   of execution that Nomadix served on nonparty INC. (Dkt. No. 221). The reasons
                             7   supporting this application are more fully set forth in the attached memorandum of
                             8   points and authorities.
                             9         LTD and INC advised Nomadix of this application by email on October 16,
                            10   19, and 20. Declaration of Meghan Rohling Kelly ¶ 2. Nomadix opposes the
                            11   application. Id.
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                            12         PLEASE TAKE FURTHER NOTICE that unless otherwise ordered by the
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                            13   Court, Nomadix shall have 24 hours (or one court day) from delivery of this
                            14   application to file and serve any papers in opposition to same.
                            15
                            16                                              BAKER & HOSTETLER LLP
                                  Dated: October 20, 2020
                            17
                            18                                              By:     /s/ Kevin M. Bovard
                                                                                    Kevin M. Bovard
                            19
                            20                                              Attorneys for Defendant
                                                                            GUEST-TEK INTERACTIVE
                            21                                              ENTERTAINMENT LTD.

                            22                                              and

                            23                                              Attorneys for Nonparty
                                                                            GUEST-TEK INTERACTIVE
                            24                                              ENTERTAINMENT INC.

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                                    GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                            CASE NO.: 2:19-CV-04980-AB(SKX)
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                             1                  MEMORANDUM OF POINTS AND AUTHORITIES
                             2          As the Court is aware, Nomadix took steps to enforce the judgment that it
                             3   obtained against Guest-Tek Interactive Ltd. (“LTD”) despite LTD’s pending
                             4   request for approval of a bond and an order staying enforcement of the judgment.
                             5   In its rush, Nomadix                                                                       a different
                             6   company, Guest-Tek Interactive Entertainment Inc. (“INC”).
                             7
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                            11                             . As a result, this ex parte application for an order quashing
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                            12   and recalling the writ of execution is necessary to                                                .
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                            13          When it served               with the writ of execution, Nomadix told
                            14                                                                             (Dkt. No. 221 at Special
                            15   Instructions.) But                                                                               . Kelly
                            16   Decl. Ex. B.1 Nomadix must have known that it
                            17                      because the documents
                            18
                            19
                            20           . Kelly Decl. Ex. C. When asked why Nomadix
                            21                    , counsel for Nomadix made the astonishing statement that Nomadix
                            22   served the writ even though Nomadix “had no idea”
                            23            . Kelly Decl. ¶ 8. Of course, if Nomadix had “no idea”
                            24            , it should not have                                                                          .
                            25
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                                             . (Dkt. No. 209.) LTD obtained the bond (Dkt. No. 206), the Court
                            27   approved the bond (Dkt. No. 220), and the Court stayed execution on the judgment
                                 (id.). As LTD explained in prior briefing, the stay of execution applies to all of
                            28   Nomadix’s attempts to enforce the judgment, including attempts based on a
                                 previously issued writ. (Dkt. No. 215 at 2.)
                                                                         -2-
                                     GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                             CASE NO.: 2:19-CV-04980-AB(SKX)
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                             1                     has told Nomadix several times that                                               . Kelly
                             2   Decl. Ex. A at 5. Nomadix has been aware that LTD (which is a Canadian company
                             3   and the only judgment debtor in this case) and INC are two distinct entities since at
                             4   least 2010, when it entered into the License Agreement that was separately signed
                             5   on behalf of LTD and INC.2 (Dkt. No. 209 at 3.) Nomadix confirmed again this
                             6   week that it knows these are different companies and it acknowledged that it has no
                             7   judgment that it can enforce against INC. Kelly Decl. Ex. A at 7 (acknowledging
                             8   “the Ltd./Inc. distinction”). Despite all this, Nomadix refuses to cooperate
                             9                           .
                            10
                            11                                                                                         . Kelly Decl. Ex.
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                            12   A at 3–4. Despite repeated requests over the last 4 days, Nomadix still has not
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                            13                                    . Instead, Nomadix is insisting that
                            14
                            15                                             .
                            16            INC and LTD tried hard to work with Nomadix to avoid having to bring this
                            17   issue to Court. But to no avail. On Friday, October 16, INC and LTD explained that
                            18                                                                                                   :
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                                 2
                                     The undersigned counsel for LTD also represent INC on this application.
                                                                         -3-
                                       GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                               CASE NO.: 2:19-CV-04980-AB(SKX)
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                             1   Kelly Decl. Ex. A at 8. Nomadix refused to cooperate unless
                             2                                                                                                 Id. at 7.
                             3   Nomadix’s demand for                                             is a red herring, not to mention
                             4   a violation of the stay, as
                             5                               . Kelly Decl. Ex. D at 1 (
                             6                                                                                                    ).
                             7          On Monday, October 19, INC and LTD again asked Nomadix to withdraw
                             8   the writ and to                                                        :
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                            26   Kelly Decl. Ex. A at 6. Nomadix responded by repeating its demand for
                            27                                        Id. at 5. Nomadix claimed that
                            28                 in a voicemail. Id. at 3. But
                                                                                  -4-
                                    GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                            CASE NO.: 2:19-CV-04980-AB(SKX)
                          Case 2:19-cv-04980-AB-SK Document 224 Filed 10/20/20 Page 7 of 8 Page ID #:3319



                             1                                                       the voicemail said no such thing. Instead,
                             2   the voicemail said that
                             3                                                                                       Id. at 1.
                             4
                             5                                                        Id. LTD and INC advised Nomadix that
                             6   they were “happy to get on the phone
                             7                                         Id. at 2.
                             8         On October 20, Nomadix finally agreed to get on the phone                                         .
                             9   During the phone call,
                            10
                            11                                                   . Id. ¶ 7.
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                            13                                                                                                      . Id.
                            14   Nomadix has not committed to                                              . Id.
                            15         Nomadix never should have served the writ of execution
                            16            . The Court should quash and recall it. And given the business disruption
                            17   that Nomadix’s improper writ has caused to INC and LTD, this requested relief
                            18   should be granted ex parte.
                            19         Under L.R. 7-19, the name, address, telephone number and e-mail address of
                            20   counsel for the opposing party are:
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                            27
                            28

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                                    GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                            CASE NO.: 2:19-CV-04980-AB(SKX)
                          Case 2:19-cv-04980-AB-SK Document 224 Filed 10/20/20 Page 8 of 8 Page ID #:3320



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                             4
                             5                                              BAKER & HOSTETLER LLP
                                  Dated: October 20, 2020
                             6
                                                                            By:     /s/ Kevin M. Bovard
                             7
                                                                                    Kevin M. Bovard
                             8
                                                                            Attorneys for Defendant
                             9                                              GUEST-TEK INTERACTIVE
                                                                            ENTERTAINMENT LTD.
                            10
                                                                            and
                            11
B AKER & H OSTETLER LLP




                                                                            Attorneys for Nonparty
   A TTORNEYS AT L A W




                            12                                              GUEST-TEK INTERACTIVE
      L OS A NGELES




                                                                            ENTERTAINMENT INC.
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                                    GUEST-TEK ENTITIES’ EX PARTE APPLICATION TO QUASH AND RECALL WRIT OF EXECUTION SERVED ON NONPARTY;
                                                                                                            CASE NO.: 2:19-CV-04980-AB(SKX)
